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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



UNITED STATES OF AMERICA,

             Plaintiff,                         Case No. 05-80031

v.                                              District Judge John Corbett O’Meara
                                                Magistrate Judge R. Steven Whalen
MARIO TAYLOR,

             Defendant.

______________________________________/

                                        ORDER

      Before the Court are Defendants’ motions to reveal identity of informants and

contents of deals [Docket #99], for disclosure of impeaching information [Docket #101] and

for discovery of expert witness testimony [Docket #100].1 At oral argument on August 17,

2005, the government stated that it would disclose the requested information to the

Defendants. Accordingly,

      IT IS ORDERED that Defendants’ motions [Docket #s 99, 100 and 101] are

GRANTED.




      1
        The motions were originally filed by Defendant Mario Taylor. Notices of intent to
join in the motions were filed by Defendants Antonio Taylor [Docket #108], Alvin A.
Walker [Docket #111], Terrence Smith [Docket #112], Leon Roberts [Docket #122] and
David Reynolds [Docket #123]. This Order applies to these other Defendants.
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                                        S/R. Steven Whalen
                                        R. STEVEN WHALEN
                                        UNITED STATES MAGISTRATE JUDGE

Dated: August 18, 2005

                            CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served on the attorneys
and/or parties of record by electronic means or U.S. Mail on August 18, 2005.


                                        S/Gina Wilson
                                        Case Manager
